909 F.2d 554
    285 U.S.App.D.C. 315
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Ronald J. TARTAGLIA, Jr., Appellant.
    No. 89-3144.
    United States Court of Appeals, District of Columbia Circuit.
    Aug. 6, 1990.
    
      Before SILBERMAN, D.H. GINSBURG and CLARENCE THOMAS, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This case was considered on the record on appeal from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for a published opinion.  See D.C.Cir.Rule 14(c).  It is
    
    
      2
      ORDERED and ADJUDGED that the district court's order of June 22, 1989, imposing a three-year period of special parole following incarceration, be affirmed.  Tartaglia's argument that he should have received no term of post-release supervision is foreclosed.  See United States v. Brundage, No. 89-3068, slip op.  (D.C.Cir. May 18, 1990) (to be reported at 903 F.2d 837).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 15.
    
    